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8                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
9
                                      SAN FRANCISCO DIVISION
10
                                                 MDL NO. 2843
11   IN RE: FACEBOOK, INC. CONSUMER
     PRIVACY USER PROFILE LITIGATION,            CASE NO. 3:18-MD-02843-VC-JSC
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13
                                                 HON. VINCE CHHABRIA
     This document relates to:                   HON. JACQUELINE SCOTT CORLEY
14                                               COURTROOM 4 – 17TH FLOOR
     ALL ACTIONS                                 SPECIAL MASTER, DANIEL GARRIE, ESQ.
15
                                                 AMENDED ORDER REGARDING
16
                                                 SEARCH STRINGS FOR MARK
17
                                                 ZUCKERBERG AND SHERYL
                                                 SANDBERG CUSTODIAL SOURCES
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       AMENDED ORDER REGARDING SEARCH STRINGS FOR MARK ZUCKERBERG AND
                     SHERYL SANDBERG CUSTODIAL SOURCES
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                                                      ORDER
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2           Pursuant to the Order Following March 11, 2022 Hearing Regarding Searching Mark

3    Zuckerberg and Sheryl Sandberg Custodial Sources, Facebook provided the richness analysis results for

4    the search strings proposed by Plaintiffs and Facebook. See Exhibit A. After reviewing the richness
5
     analysis results, Special Master Garrie orders Facebook to produce the responsive, non-privileged files
6
     that hit on the following search strings:
7
                                     PL-1              PL-32
8
                                     PL-2              PL-33
9                                    PL-8              PL-35
                                     PL-9              FB-2
10                                   PL-11             FB-6
11                                   PL-13             FB-8
                                     PL-15             FB-9
12                                   PL-16             FB-11
13
                                     PL-17             FB-12
                                     PL-19             FB-15
14                                   PL-21             FB-18
                                     PL-23             FB-20
15
                                     PL-24             PL-32
16                                   PL-27             PL-33
                                     PL-30             PL-35
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            For search strings in the list above that hit on fewer than 5,000 documents (including families),
19
     Facebook is to review all of the documents hitting on the search strings as well as their family
20
     members. For search strings in the list above that hit on 5,000 or more documents (including families),
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22   Facebook may initially review only the search string hit documents and not any family member

23   documents that do not hit on search strings. Facebook is to make weekly rolling productions and

24   complete production from the Mark Zuckerberg and Sheryl Sandberg custodial sources no later than
25
     May 27, 2022.
26
            Special Master Garrie notes that four of the search strings Facebook proposed had a richness of
27
     0% based on Facebook’s analysis of a sample of the results. For this reason Special Master Garrie finds
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       AMENDED ORDER REGARDING SEARCH STRINGS FOR MARK ZUCKERBERG AND
                     SHERYL SANDBERG CUSTODIAL SOURCES
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     that it may be appropriate to run additional search strings after the parties have had a chance to review
1

2    the results of the current search strings. No later than June 3, 2022, Plaintiffs and Facebook are each to

3    propose three additional strings for the Mark Zuckerberg and Sheryl Sandberg custodial sources. The

4    lists of proposed search strings are to include a one sentence explanation as to why the proposing party
5
     believes the search string should be included. The parties may object to additional proposed search
6
     strings within three days.
7
            No later than June 10, 2022, Facebook is to perform a richness analysis on the additional search
8
     strings and provide the results to Special Master Garrie and Plaintiffs. No later than June 24, 2022,
9

10   Facebook is to produce responsive, non-privileged files that hit on the additional search strings with a

11   richness of 10% or higher.
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18          IT IS SO ORDERED.

19
            April 22, 2022                                 ____________________________
20                                                         Daniel Garrie
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                                                           Discovery Special Master

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       AMENDED ORDER REGARDING SEARCH STRINGS FOR MARK ZUCKERBERG AND
                     SHERYL SANDBERG CUSTODIAL SOURCES
